Case 3:23-cv-00801-RCY Document 66 Filed 06/24/24 Page 1 of 3 PagelD# 679

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

MARGARET P. BYERS AND MICHAEL C.
BYERS, CO-ADMINISTRATORS OF THE
ESTATE OF CHARLES M. BYERS,
DECEASED,

Plaintiff,
Vv. Case No. 3:23-cv-00801-RCY
CITY OF RICHMOND, CHIPPENHAM &
JOHNSTON-WILLIS HOSPITALS, INC.,
STEVEN M. GIBSON, DAVID R. HYDE,
JR., AND JOHN/JANE DOE SECURITY
GUARDS (1 - 5),
Defendant.

JOINT MOTION TO MODIFY AMENDED PROTECTIVE ORDER FOR RECORDS

COME NOW Plaintiffs Margaret P. Byers and Micheal C. Byers, Co-Administrators of
the Estate of Charles M. Byers, deceased (“Plaintiffs”) and the City of Richmond, Chippenham
& Johnston-Willis Hospitals, Inc., Steven M. Gibson, and David R. Hyde, Jr, RN.
(“Defendants”) (collectively, “Parties”), by counsel, and move this Court for an Order modifying
the Amended Protective Order for Records (ECF No. 65-1) for the reasons set forth in their
Memorandum in Support of Joint Motion to Modify Amended Protective Order for Records.

CHIPPENHAM & JOHNSTON-
WILLIS HOSPITALS, INC. AND
~ DAVID R. HYDE, JR.

By Counsel
Case 3:23-cv-00801-RCY Document 66

/s/

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Filed 06/24/24 Page 2 of 3 PagelD# 680

Counsel for Chippenham & Johnston-Willis Hospitals, Inc.

and David R. Hyde, Jr.

CERTIFICATE

I hereby certify that on the 24" day of June, 2024, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to the following:

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Case 3:23-cv-00801-RCY Document 66 Filed 06/24/24 Page 3 of 3 PagelD# 681

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and I hereby certify that I have emailed the document to the above.

/s/

John R, Owen
